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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                 No. 21-cr-123 (PLF)
                                          )
VITALI GOSSJANKOWSKI,                     )
                                          )
            Defendant                     )
__________________________________________)

               MOTION FOR LEAVE TO FILE SURREPLY AND REPLY

       Vitali GossJankowski, through counsel, respectfully requests leave to file the attached (1)

Defense Surreply Regarding Government’s Motion to Exclude Defense Experts and For a

Daubert Hearing, and (2) Reply in Support of Cross-Motion in Limine to Preclude Discussion of

the Vice President’s “Family.” Counsel submits that a surreply is necessary to address several of

the government’s arguments about Dr. Mark Kroll. Counsel submits that a reply is necessary to

respond to the government’s opposition to Mr. GossJankowski’s cross-motion, which opposition

confirms that the government does indeed intend to present evidence and argument that the

former Vice President’s family members defined the “restricted area” in Counts Four and Five

even though not charged in the indictment.

                                             Respectfully submitted,

                                             A.J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                             ______/s/__________________
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